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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO.: 17-CV-23234-JEM


   WILLIAM BERTONE, JOHAN MANDIC, and
   IRALDO PIERFRANCESCO,

            Plaintiffs,                                                 STATEMENT OF CLAIMS

   vs.

   IL GIARDINO, LLC d/b/a Il Giardino, a Florida
   limited     liability company,     BARBRA
   PELLIGRINI, an individual, and IMAM DUZ, an
   individual,

         Defendants.
   _______________________________________/

                                       STATEMENT OF CLAIMS

          COME NOW Plaintiffs WILLIAM BERTONE, JOHAN MANDIC, and IRALDO

  PIERFRANCESCO (“Plaintiffs”) and file their Statement of Claims of unpaid minimum and

  overtime wages, pursuant to Court Order DE 10. At this time, Plaintiffs are not in possession of

  their time and pay records throughout the relevant time period, and reserve their right to amend

  as litigation proceeds.

  For Plaintiff WILLIAM BERTONE

      Period Claimed: September, 2016 to December, 2016, and February, 2017 to July, 2017.

      Weeks: 35, approximately.

      Hours Worked: Bertone worked an estimated 45 hours per week as a non-exempt hourly

      employee (server) throughout his employment.

      WAGES OWED:


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  Minimum Wages – Tip Credit

  Year        Weeks Worked         Hours       Minimum    Wage     Difference Minimum
                                   Worked      wage       Paid                 Wage Owed
  2016        13                   40          $8.05      $7.00    $1.05       $546.00
  2017        10                   40          $8.10      $7.00    $1.10       $440.00
  2017        12                   40          $8.10      $5.08    $3.02       $1,449.60
                                         Total Minimum Wages Owed (Actual): $2,435.60

  Minimum Wages – Off-the-Clock

  Year        Weeks Worked         Hours       Minimum    Wage     Difference Minimum
                                   Worked      wage       Paid                 Wage Owed
  2016        13                   5           $8.05      $0.00    $8.05       $3,018.60
  2017        10                   5           $8.05      $0.00    $8.05       $3,018.60
  2017        12                   5           $8.10      $0.00    $8.10       $526.50
                                         Total Minimum Wages Owed (Actual): $6,563.78

  Overtime Wages – Off-the-clock

  Year        Weeks Worked         OT Hours OT Wage        OT Paid Difference Overtime
                                   Worked                                        Wage Owed
  2015        52                   5         $12.075       $0.00    $12.075      $3,139.50
  2016        52                   5         $12.075       $0.00    $12.075      $3,139.50
  2017        13                   5         $12.15        $0.00    $12.15       $789.75
                                         Total Overtime Wages Owed (Actual): $7,068.75

          With an equal amount of liquidated damages for these willful violations, Bertone is owed

  a total of $32,136.26.

  For Plaintiff JOHAN MANDIC

      Period Claimed: January, 2017 through June, 2017.

      Weeks: 26, approximately.

      Hours Worked: Plaintiff worked an estimated 25 hours per week as a non-exempt hourly

      employee (server) throughout his employment.




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      Applicable Wage: Plaintiff was only paid an hourly wage two times during this time period,

      and was required to participate in an invalid tip share with the manager. The remainder of the

      time he worked solely for tips.

  WAGES OWED:

  Minimum Wages – Tip Credit

  Year        Weeks Worked         Hours       Minimum    Wage     Difference Minimum
                                   Worked      wage       Paid                 Wage Owed
  2017        4                    25          $8.10      $5.08    $3.02       $52.00
                                         Total Minimum Wages Owed (Actual): $302.00

  Minimum Wages – Off-the-Clock

  Year        Weeks Worked         Hours       Minimum    Wage     Difference Minimum
                                   Worked      wage       Paid                 Wage Owed
  2017        22                   25          $8.10      $0.00    $8.10       $526.50
                                         Total Minimum Wages Owed (Actual): $4,455.00

          With an equal amount of liquidated damages for these willful violations, Mandic is owed

  a total of $9,514.00.

  For Plaintiff IRALDO PIERFRANCESCO

      Period Claimed: February, 2017 through June, 2017.

      Weeks: 22, approximately.

      Hours Worked: Plaintiff worked an estimated 40 hours per week as a non-exempt hourly

      employee (server) throughout his employment.

      Applicable Wage: Plaintiff was not paid an hourly wage during this time period, was

      required to participate in an invalid tip share with the manager, and he worked solely for tips.

  WAGES OWED:

  Minimum Wages – Off-the-Clock


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  Year        Weeks Worked         Hours       Minimum    Wage     Difference Minimum
                                   Worked      wage       Paid                 Wage Owed
  2017        22                   40          $8.10      $0.00    $8.10       $526.50
                                         Total Minimum Wages Owed (Actual): $7,128.00

      With an equal amount of liquidated damages for these willful violations, Mandic is owed a

  total of $14,256.00.

      Attorneys’ Fees and Costs: Plaintiff’s attorney has spent 20.5 hours at $350.00 per hour

  ($7,175.00), and has $480.00 in costs for filing and service.

          Respectfully submitted this 21st day of May, 2018.

                                           By:      s/Robert W. Brock II
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                                                    Attorney for Plaintiffs



                                     CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on May 21, 2018, I electronically filed the foregoing
  document via CM/ECF. I also certify that the foregoing document is being served this day on all
  counsel of record or pro se parties identified in the attached Service in the manner specified,
  either via transmission of Notices of Electronic Filing generated by CM/ECF, or in some other
  manner for those counsel or parties who are not authorized to receive electronic Notices of
  Electronic Filing.

                                           By:      s/Robert W. Brock II
                                                    Robert W. Brock II, Esq.
                                                    Florida Bar No. 75320

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